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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 21-cv-21079-BLOOM/Otazo-Reyes

 SECURITIES AND EXCHANGE
 COMMISSION,

        Plaintiff,
 v.


 MINTBROKER INTERNATIONAL, LTD.
 and GUY GENTILE,

       Defendants.
 ____________________________________/

               ORDER REGARDING HEARING ON MOTION TO DISMISS

        THIS CAUSE is before the Court following a telephone call placed today with Chambers

 and a conference between the Court’s law clerk and counsel for the parties. Counsel for Defendant

 Guy Gentile had previously requested a hearing on Gentile’s Motion to Dismiss for Lack of

 Personal Jurisdiction, ECF No. [57], which the Court granted and scheduled for hearing on January

 19, 2022. ECF No. [68]. During the telephone conference, the attorneys inquired about the length

 of the scheduled hearing and whether it would be evidentiary in nature. Gentile’s counsel advised

 that he had intended to request an evidentiary hearing, and not simply oral argument. The law clerk

 advised that he would discuss the matter with the Court.

        The Court now advises the parties that the scheduled hearing is intended to consist of oral

 argument based upon the briefings submitted, and an evidentiary hearing is not necessary. As such,

 the hearing on Gentile’s Motion to Dismiss for Lack of Personal Jurisdiction, ECF No. [68], is

 CANCELED. The Court will rule on the briefings submitted.
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                                              Case No. 21-cv-21079-BLOOM/Otazo-Reyes


        DONE AND ORDERED in Chambers at Miami, Florida, on January 5, 2022.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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